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in THE UN:TED sTATEs DisTRIcT couRT
FOR THE WESTERN DISTRICT or TENNEssEE '
wEsTERN DIVISION

 

 

KAMAL PATEL,
Plaintiff,

vs. No. 04-2899-D/P

PATRICK J. o'suLLIVAN, et ai.,

Defendants.

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ORDER ASSESSING FILING FEE
ORDER DENYING MOTIONS FOR ENLARGEMENT OF TIME, FOR ISSUANCE
OF SUMMONS, AND FOR SERVICE OF PROCESS AS UNNECESSARY
AND
ORDER TO ISSUE SERVICE OF PROCESS
FOR THE DEFENDANT NEUROLOGY CLINIC, P.C.

 

Plaintiff Kamal Patel, Bureau of Prisons (BOP) inmate
registration number 56496~080, an inmate at the Federal
Correctional lnstitution (FCI)l in Forrest City, Arkansas, has
filed a complaint under Bivens v. Six Unknown Federal Aqents, 403
U.S. 388 (19?1) and diversity jurisdiction for medical malpractice,
negligence, conspiracy, fraud, and breach of contract. The Clerk
of Court shall file the case and record the defendants as Patrick

O’Sullivan and The Neurology Clinic, P.C.Z

 

1 The word prison is used in this order to refer to all places of
confinement or incarceration, including jails, penal farms, detention and
classification facilities, or halfway houses.

2 Plaintiff also named two “John Doe Insurance Companies” as

 

defendants. lt is well settled that a complaint cannot be commenced against
fictitious parties. Bufalino v. Michiqan Bell TeleDhone Co., 404 F.Zd 1023, 1028
(6th Cir. 1968). Furthermore, the United States Supreme Court has instructed

district courts hearing diversity cases that "[e]xcept in matters governed by the

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Under the Prison Litigation Reform Act of 1995 (PLRA), 28
U.S.C. § 1915(b), all prisoners bringing a civil action must pay
the full filing fee of $150 required by 28 U.S.C. § 1914(a). The
in fgrma pauperis statute, 28 U.S.C. § 1915(a), merely provides the
prisoner the opportunity to make a "downpayment" of a partial
filing fee and pay the remainder in installments.

In this case, plaintiff has properly completed and submitted
both an in fgrma pauperis affidavit and a prison trust fund account
statement. Pursuant to 28 U.S.C. § 1915(b)(l), it is ORDERED that
the plaintiff cooperate fully with prison officials in carrying out
this order. lt is further ORDERED that the trust fund officer at
plaintiff's prison shall calculate a partial initial filing fee
equal to twenty percent of the greater of the average balance in or
deposits to the plaintiff's trust fund account for the six months
immediately preceding the completion of the affidavit. When the
account contains any funds, the trust fund officer shall collect
them and pay them directly to the Clerk of Court. If the funds in

plaintiff's account are insufficient to pay the full amount of the

 

Federal Constitution or by acts of Congress, the law to be applied in any case
is the law of the state." Erie R.R. v. Tompkins, 304 U.S. 64, 78 (1938). The
Erie Court noted that in a diversity context, the "law of the state" includes not
only state statutes, but also the corpus of interpretive law as pronounced by the
state courts. Erie, 304 U.S. at 78. Although the Tennessee legislature
expressly created a remedy whereby which injured parties could proceed against
their insurer in uninsured motorist cases, Tenn. Code Ann. 56-7-1206(d), the
underlying rationale of Glover v. Tennessee Farmers Mutual Ins. Co., 468 S.W.Zd
727 (1971), that direct actions against liability insurers are barred remains the
law in Tennessee. Furthermore, the plaintiff is clearly not the insured. The
defendants are the insured parties. Accordingly, plaintiff is not entitled to
proceed directly against defendants’ insurance companies and the Clerk is ORDERED
to strike any reference to “Two John Doe Insurance Companies” from the docket.

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initial partial filing fee, the prison official is instructed to
withdraw all of the funds in the plaintiff's account and forward
them to the Clerk of Court. On each occasion that funds are
subsequently credited to plaintiff's account the prison official
shall immediately withdraw those funds and forward them to the
Clerk of Court, until the initial partial filing fee is paid in
full.

lt is further ORDERED that after the initial partial filing
fee is fully paid, the trust fund officer shall withdraw from the
plaintiff's account and pay to the Clerk of this Court monthly
payments equal to twenty percent (20%) of all deposits credited to
plaintiff's account during the preceding month, but only when the
amount in the account exceeds $10.00, until the entire $150.00
filing fee is paid.

Each time that the trust fund officer makes a payment to the
Court as required by this order, he shall print a copy of the
prisoner's account statement showing all activity in the account
since the last payment under this order and file it with the Clerk
along with the payment.

All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of
Tennessee, l6? N. Main, Room 242 Memphis, TN 38103

and shall clearly identify plaintiff's name and the case number on
the first page of this order.
lf plaintiff is transferred to a different prison or released,

he is ORDERED to notify the Court immediately of his change of

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address. lf still confined he shall provide the officials at the

new prison with a copy of this order.

lf the plaintiff fails to abide by these or any other
requirement of this order, the Court may impose appropriate
sanctions, including a monetary fine, without any additional notice
or hearing by the Court.

The Clerk shall mail a copy of this order to the prison
official in charge of prison trust fund accounts at plaintiff's
prison.

ll. ORDER DENYING MOTION FOR ENLARGEMENT OF TIME (DoCket entrV 3),
AND MOTION FOR ISSUANCE OF SUMMONS AND FOR SERVICE OF PROCESS
(Docket entry 4) AS UNNECESSARY
On January 10, 2005, plaintiff filed a motion for enlargement

of time to effect service, noting that over 120 days had passed

since the filing of his complaint on November 5, 2004, and the

Court had not ordered the Clerk to issue any summons. The United

States Court of Appeals for the Sixth Circuit issued an

administrative order which states:

[B]efore service of process is made on the opposing

parties, the district court must screen the case under

the criteria of 28 U.S.C.A. § 1915(e}(2) and 28 U.S.C.A.

§ 1915A. . . . Therefore, in prisoner cases, the district

court must first examine a complaint under § l915A and

then review the complaint under § 1915(e)(2) before the

case may proceed in normal course. District courts are

required to screen all civil cases brought by prisoners,

regardless cf whether the inmate paid the full filing

fee, is a pauper, is pro se, or is represented by

counsel, as the statute does not differentiate between

civil actions brought by prisoners.

ln Re Prison Litigation Reform Act, 105 F.3d 1131, 1131-33 (6th

Cir. 1997)(articulating how district courts should apply the PLRA).

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Accordingly, screenimg of ppg §§ complaints must occur before
process issues. The delay in issuing process and effecting service
in a case subject to screening is not attributable to the
plaintiff. Upon a determination that plaintiff's motion to proceed
ip fp;ma pauperis be granted and that service should issue, it is
the duty of the United States Marshal Service to effect proper
service. As any delay was not attributable to the plaintiff, the
motion for an enlargement of time {Docket entry 3) is DENIED as
unnecessary. Furthermore, as the Court had not screened
plaintiff's complaint at the time he filed his motion for issuance
of summons and for service of process (Docket entry 4), the motion
is also DENIED as unnecessary. The Court issues service orders in
accordance with the administrative order of the Sixth Circuit.
IV. lSSUANCE OF SERVICE FOR DEFENDANT THE NEUROLOGY CLINIC, P.C.

Prior to the screening of plaintiff's complaint and the entry
of this order, the Clerk of this Court was not authorized to issue
any process delivered to the plaintiff. Although the docket of
this case does not reflect that the Clerk issued any process for
either of the defendants, defendant Patrick O'Sullivan has filed an
answer to the complaint. lt is unclear how service was effected
upon O’Sullivan, however, he has now answered. the complaint.
Accordingly, it is not necessary that the Clerk issue process for
O’Sullivan.

lt is ORDERED that the Clerk shall issue process for the
defendant Neurology Clinic, P.C. and deliver said process to the

marshal for service.

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Service shall be made on defendant The Neurology Clinic in
accordance with Rule 4(h)(l). All costs of service shall be
advanced by the United States.

lt is further ORDERED that the plaintiff shall serve a copy of
every further document filed in this cause on the attorney for each
defendant, or on the defendant if he or it has no attorney. The
plaintiff shall make a certificate of service on every document
filed. The plaintiff shall promptly notify the Clerk of any change
of address or whereabouts. Failure to comply with these
requirements, or any other order of the Court, may result in this

case being dismissed without further notice.

IT Is so oRDERED this 3/ day ar May, 2005.

  

ICE B. DON LD
U TED STATES DISTRICT JUDGE

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 6 in
case 2:04-CV-02899 Was distributed by faX, mail, or direct printing on
June 9, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

